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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONT ANA
                            BILLINGS DIVISION

UNITED STATES OF AMERICA,                       Cause No. CR 03-77-BLG-SPW

             Plaintiff,

      vs.                                        ORDER DENYING MOTION

JESSE BASSINGER,

             Defendant.


      On October 6, 2014, Defendant Jesse Bassinger moved the Court to reduce

his sentence. The Court lacks authority to do so, see 18 U.S.C. § 3582(c), because

Amendment 782 has not yet been enacted. If enacted, it will not authorize any

prisoner's release until November 1, 2015. See U.S.S.G. § lBl.lO(e) (proposed);

Application Note 6 (proposed).

      A motion lacking legal foundation will not be held on the docket in

anticipation that jurisdiction may arise in the future. Bassinger may file a motion if

and when it becomes appropriate.


      Accordingly, IT IS HEREBY ORDERED that Bassinger's motion to reduce

his sentence (Doc. 322) is DENIED.
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DATED this   May of October, 2014.

                          Ai~L f'.Wallz~
                             Susan P. Watters
                             United States District Court




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